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THE ORD FIRM, P.C.
James K. Ord, III (USB 14007)
PO Box 16266
Salt Lake City, UT 84116
Telephone: (435) 214-1433
Email: james@UtahADALaw.com
Attorney for Plaintiff


                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

 Trevor Kelley,                                   Case No.: 2:17-cv-00802-EJF

                  Plaintiff,
 v.                                               NOTICE OF SETTLEMENT


 Spoons ‘N Spice,                                 Assigned to Magistrate Judge Evelyn J. Furse

                  Defendant.

         PLEASE TAKE NOTICE that, Plaintiff, Trevor Kelley, and Defendant, Spoons ‘N Spice

(collectively, the “Parties”), hereby give notice that the Parties have reached settlement in this

Action. The Parties anticipate filing dismissal papers within the next thirty (30) days. In

conformance with DUCiv R 41-1, the Parties respectfully request the Court stay all deadlines and

other matters in this Action so the Parties can finalize settlement documents.




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   RESPECTFULLY SUBMITTED on this 23rd day of August, 2017.

                                             /s/ James K. Ord, III
                                             JAMES K. ORD, III
                                             The Ord Firm, P.C.
                                             PO Box 16266
                                             Salt Lake City, UT 84116
                                             Telephone: (435) 214-1433
                                             Email: James@UtahADALaw.com
                                             Attorney for Plaintiff




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                                            CERTIFICATE OF SERVICE
       I hereby certify that on this 23rd day of August, 2017 I electronically transmitted the
foregoing document to the Clerk’s Office using the CM/ECF system for filing and transmittal of
a Notice of Electronic filing to be served upon all e-filing counsel of record:


Sean A. Monson
Bennett Tueller Johnson & Deere P.C.
3165 E. Millrock Dr. 5th Fl.
Salt Lake City, UT 84121
801-438-2000
Email: ecf@parsonbehle.com
Attorney for Defendant


/s/ Sydney Rogers*
(* I certify that I have the signed original of this document
which is available for inspection during normal business
hours by the Court or a party to this action)
